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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

CYNTHIA J. SCHNAPF,                                   )
                                                      )
               Plaintiff,                             )
                                                      )      Case No. 3:18-cv-00238-RLY-MPB
v.                                                    )
                                                      )      Judge Richard L. Young
MERCHANTS’ CREDIT GUIDE CO.,                          )
                                                      )      Magistrate Matthew P. Brookman
               Defendant.                             )
                                                      )

                               MOTION TO STAY DISCOVERY

       Defendant, Merchants’ Credit Guide, Inc. (hereinafter, "MCG") by and through its

attorneys, David M. Schultz and Brandon S. Stein of Hinshaw & Culbertson LLP, hereby moves,

pursuant to Fed. R. Civ. P. 26, and submits this Motion to Stay Discovery pending the Court’s ruling

on MCG’s Motion to Dismiss Plaintiff’s Complaint. In support thereof, MCG states as follows:

                                        INTRODUCTION

       Defendant filed a motion to dismiss Plaintiff's entire Complaint on February 4, 2019. See

Dkt. #14, 15. Defendant's motion to dismiss rests on purely legal arguments for which no discovery

is required. Defendant argues in its motion to dismiss that Plaintiff fails to state a claim for which

relief can be granted under Fed. R. Civ. P. 12(b)(6). The Court can resolve Defendant's motion

purely by reviewing the allegations of the Complaint at issue and the materials attached to the

Motion to Dismiss, and considering the applicable legal authorities that are raised in Defendant's

Motion. No discovery is necessary. As such, this Court should stay discovery pending the outcome

of Defendant’s Motion to Dismiss Plaintiff’s Complaint.

                                           ARGUMENT

       Defendant’s Motion to Stay Discovery should be granted because the Federal Rules of Civil

Procedure provide this Court with broad discretion to protect defendant from the expense, undue



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burden, and annoyance of having to respond to discovery while it has a motion pending that may

dispose of this entire litigation. It could prove to be a waste of judicial and party resources to require

discovery to proceed while the dispositive motion is pending.

        A.      It Is Well Established That This Court Can Stay Discovery While Defendant’s
                Dispositive Motion Is Pending.

        District courts enjoy broad discretion in controlling discovery. Cent. States, Se. and Sw. Areas

Pension Fund v. Waste Mgmt. of Mich., Inc., 674 F.3d 630, 636 (7th Cir. 2012). “Pursuant to Federal Rule

of Civil Procedure 26(c) and (d), a court may limit the scope and sequence of discovery.” Duneland

Dialysis LLC v. Anthem Ins. Co., Inc., No. 4:09 cv 36, 2010 U.S. Dist. LEXIS 33599, at *4 (N.D. Ind.

Apr. 6, 2010). Rule 26(c) allows this Court to issue an order to protect a party “from annoyance,

embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1). Further, Rule

26(d) authorizes this Court to dictate the timing and sequence of discovery. Controlling discovery

includes managing the timing, extent, frequency, and manner of discovery. Nexstar Broad., Inc. v.

Granite Broad. Corp., No. 11 cv 249, 2011 U.S. Dist. LEXIS 105056, at *4 (N.D. Ind. Sept. 15, 2011);

Bilal v. Wolf, No. 06 C 6978, 2007 U.S. Dist. LEXIS 41983, at *2 (N.D. Ill. June 6, 2007).

        “It is well settled that discovery is generally considered inappropriate while a motion that

would be thoroughly dispositive of the claims in the Complaint is pending.” Sibley v. U.S. Supreme

Court, 786 F. Supp. 2d 338, 346 (D.D.C. 2011) (quoting Institut Pasteur v. Chiron Corp., 315 F.Supp.2d

33, 37 (D.D.C. 2004)). “Stays of discovery are not disfavored and are often appropriate where the

motion to dismiss can resolve the case-at least as to the moving party. . . .” Id.; In re Sulfuric Acid

Antitrust Litigation, 231 F.R.D. 331, 336 (N.D. Ill. 2005) (“Limitation or postponement of discovery

may be appropriate when a defendant files a motion to dismiss for failure to state a claim on which

relief can be granted.”). “Numerous cases in this circuit have [] allowed stays in the face of a Rule

12(b)(6) challenge.” Bilal, 2007 U.S. Dist. LEXIS 41983, at *2



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          Stays of discovery pending a ruling from a Court on a motion to dismiss are granted “with

substantial frequency.” Bilal, 2007 U.S. Dist. LEXIS 41983, at *2. “Indeed, some districts have a

rule that prohibits discovery during the pendency of such a motion, and in some circuits, district

courts have been advised to resolve a motion to dismiss before allowing discovery.” Id. at *4 (citing

Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1367 (11th Cir. 1997)). Such stays have been granted

with even greater frequency following the Supreme Court’s decision in Twombly, which recognized

the need to spare defendant the costs of discovery into meritless claims. Dillinger LLC v. Electronic

Arts, Inc., No. 1:09 cv 1236, 2010 U.S. Dist. LEXIS 139139, at *2 (S.D. Ind. May 11, 2010). MCG

has argued that Plaintiff’s claim here is meritless.

    B. The Court Should Stay Discovery Until The Court Rules On Defendant’s Motion.

          In light of the authorities cited above, the Court should exercise its discretion to stay

discovery in this matter. Defendant’s motion to dismiss could resolve this case in its entirety.

Defendant has moved to dismiss Plaintiff’s entire Complaint because Plaintiff fails to state a claim

for which relief can be granted. See Dillinger, 2010 U.S. Dist. LEXIS 139139, at *1-2 (“Courts have

long exercised [their] discretion to stay discovery after a timely filed motion to dismiss.”).

Defendant’s motion to dismiss argues that the letter Plaintiff complains of does not convey the

impression that it was sent by a state government or be coy about being a collection agency, in

violation of a section of the FDCPA where liability is generally only found in “egregious situations

where the debt collector overtly impersonates a government agency or where it attempts to hide its

identity by using a false alias.” Sullivan v. Credit Control Servs., 745 F.Supp.2d 2, 11 (D. Mass. 2010).

MCG has also argued that Plaintiff’s § 1692f claim is an impermissible restatement of his other

claims.

          Thus, discovery should be stayed until the Court determines whether Plaintiff's instant

claims may proceed. Otherwise, the parties will perform unnecessary, burdensome, and expensive


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discovery on a case that may be dismissed in its entirety. See Beck v. Dobrowski, 559 F.3d 680, 682 (7th

Cir. 2009) (“[Twombly] teaches that a defendant should not be burdened with the heavy costs of

pretrial discovery that are likely to be incurred in a complex case unless the complaint indicates that

plaintiff's case is a substantial one.”); See also Jupiter Aluminum Corp. v. Sabaitis, No. 2:16 cv 30, 2016

U.S. Dist. LEXIS 123843, at *19 (N.D. Ind. Sept. 13, 2016) (citing Limestone Dev. Corp. v. Vill. of

Lemont, 520 F.3d 797, 803 (7th Cir. 2008)) (“the defendant should not be put to the expense of big-

case discovery on the basis of a threadbare claim.”). MCG has argued that Plaintiff’s claim here is

meritless. Dillinger LLC, 2010 U.S. Dist. LEXIS 139139 at *2.

        The nature of this case presents even more compelling reasons for the Court to grant

Defendant's Motion than an ordinary case. A stay of discovery is especially important because

Plaintiff's claims are based on a fee-shifting statute. Two scenarios illustrate this point. First, if

discovery goes forward and Defendant does not prevail on its motion to dismiss, the prospect of

settlement will become less likely, as Plaintiff will demand additional attorneys' fees for engaging in

discovery, and Defendant's costs will have risen considerably. If discovery is stayed during the

court's consideration of the motion to dismiss, the parties will not expend any additional attorneys'

fees partaking in costly discovery expeditions. If Defendant loses its Motion to Dismiss, there will be

a brighter prospect for a settlement. Second, if discovery is not stayed and then the Court grants

Defendant's motion, the parties will have expended considerable resources partaking in discovery

that proved to be have provided no benefit. In order to save both the parties and the Court

substantial time, fees, and costs, this Court should stay Discovery in this matter until the questions

of law that require no discovery and are currently pending before this Court are resolved.

        WHEREFORE, Defendant, Merchants’ Credit Guide Co. prays that this Honorable Court

enter an order staying discovery until further Order of the Court which would be sometime after the

Court renders an opinion on Defendant’s Motion to Dismiss. Should the Court set this Motion for


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further briefing or take the Motion under advisement to rule on at a later date, Defendant

additionally asks that the Court stay discovery until a decision is issued on this instant motion, as

well as for the court to grant any other relief to Defendant that the Court deems equitable and just

Date: January 31, 2019
                                                        Respectfully submitted,

                                                        By:     /s/ Brandon S. Stein
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2019, a copy of the foregoing MOTION TO STAY
DISCOVERY was filed electronically. Service of this filing will be made on all ECF-registered
counsel by operation of the Court’s electronic filing system, with a courtesy copy to be sent via U.S.
mail. Parties may access this filing through the Court's system.

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